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a SEALED

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

 

 

 

 

United States of America )
V. )
20-30 MAG
BRYANT LEMONT HARRIS Case No.
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 14, 2020 in the parish of Orleans in the
Eastern District of Louisiana , the defendant(s) violated:
Code Section Offense Description
18 U.S.C 115(a)(1)(B) Influencing, impeding, or retaliating against a Federal official by threats.

 

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This criminal complaint is based on these facts: WX. Dktd
See attached affidavit -— CiRmDep.
= Dac. No.

 

@M Continued on the attached sheet.

    

omplainant’s signatufe

Jeffrey W. Heath, Special Agent FBI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: __ 02/14/2020 ua sy Ce E-

Judge's signaturd

City and state: New Orleans, Louisiana Dana M. Douglas, United States Magistrate Judge

 

Printed name and title

 

 
 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA * MAGISTRATE NO.:
v. *
BRYANT LEMONT HARRIS *
*
* * *

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Jeffrey W. Heath, a Special Agent with the Federal Bureau of Investigations (FBI), being
duly sworn, do hereby depose and state that the following information is true to the best of my
knowledge and belief:

INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent (SA) with FBI. I have been employed by the FBI for
approximately nine years where I am assigned to the FBI New Orleans Violent Crime Task Force
(NOVCTEF). This task force includes federal and state officers tasked with the responsibility of
investigating violent crimes to include bank robberies, weapons related crimes, threatening
communications, and illegal narcotics activity. I have also participated in numerous investigations
involving these offenses and am thoroughly familiar with the investigative techniques used in these
investigations.

2. I make this affidavit in support of securing a criminal complaint against BRYANT
LEMONT HARRIS for violating Title 18, United States Code, Section 115(a)(1)(B) by
conveying threats to the chambers of the Honorable Susie Morgan, United States District Judge,

located at 500 Poydras Street, New Orleans, Louisiana with the intent to impede, intimidate, and

interfere with Judge Morgan and staff while engaged in the performance of official duties. I am

 
 

 

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personally familiar with the facts and circumstances surrounding this investigation from my own
investigative activities and from information obtained from other law enforcement officers with
personal knowledge of the facts.

3. Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint, I have not set forth each and every fact known to me concerning this
investigation. I have included what I believe are the facts sufficient to establish probable cause for
the complaint sought.

PROBABLE CAUSE

4. On Thursday, February 13, 2020, the FBI New Orleans Violent Crimes Task Force
(NOVCTF) received information from the United States Marshals Service (USMS) regarding
threats made via telephone. Specifically, the threats were made toward Judge Susie Morgan and
staff. FBI NOVCTF Agents responded to Judge Morgan’s Chambers located at 500 Poydras Street,
New Orleans, Louisiana at approximately 10:50 am. Upon arrival, FBI NOVCTF Agents and a
member of the USMS conducted interviews with Judge Morgan and her staff regarding the threats

5. Based on the interview of Judge Morgan’s Judicial Assistant it was determined that
on the morning of Thursday, February 13, 2020, a male subject contacted the front office
of Judge Morgan’s chambers via telephone. The male identified himself to the Judicial
Assistant aa BRYANT LEMONT HARRIS, DOB 6/24/1973 and spelled his name for
her. He contacted the office from telephone number 539-664-0659. He had previously
contacted Judge Morgan’s chambers and was known to staff members. During the call,
HARRIS complained angrily about the police and NOPD specifically. He advised that he
was an Army veteran and had been an expertly trained marksman. He opined that Judge

Morgan’s staff either did not know about or did not care about his concerns. He asked how

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many security personnel were assigned to Judge Morgan. When asked why he needed that
information, he replied, “I need to know how many people I need to take out to get to the
Judge.” He proceeded to say, “I’m not hiding”, and “I don’t give a fuck.” He then hung
up the phone. Judge Morgan’s staff immediately referred the incident to the USMS based
on seriousness of the threat conveyed

6. Prior to this encounter, on December 27, 2019, HARRIS contacted the
chambers of Judge Morgan and spoke to her directly via telephone. He expressed his
frustration with the New Orleans Police Department (NOPD). He mentioned that he was
aware of Judge Morgan’s oversight of the consent decree between the U.S. Department of
Justice and NOPD. He was described as angry and agitated during the conversation. After
a short period of ranting, HARRIS said, “I’m just going to take things into my own hand,
watch CNN.” He then hung up the phone.

7. Subsequent investigation revealed that HARRIS had contacted Judge
Morgan’s office in mid-December and mid-January and had demonstrated an increasingly
angry demeanor during his calls. He had previously contacted NOPD PIB Unit as well as
FBI New Orleans Field Office regarding various grievances he had with NOPD and police
in general.

8. HARRIS has been arrested on multiple occasions by the USMS task force
for offenses including assault, burglary, larceny, and destruction of property. Harris has a
criminal history in Oklahoma, Florida, and Louisiana which included offenses for domestic
violence, threatening communications, stalking, and illegal possession of a firearm by a

felon.

 
 

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9. Based on the above information, your Affiant believes that there is
probable cause to believe that BRYANT LEMONT HARRIS conveyed threatening

communications to Judge Morgan and her staff in violation of Title 18, United States

Jeftyey /Hedth, Special Agent

Federal Bureau of Investigation

Code, Section 115(a)(1)(B).

 

Subscribed to and sworn before me on
~Janvary14, 2020, New Orleans, Louisiana
QSMUSCS

Koa an Laualer

Honorable Dana M. Douglas
United States Magistrate Judge

 

 
